      Case 13-31622                 Doc 63       Filed 09/07/18 Entered 09/07/18 08:13:13           Desc Main
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          FILED & JUDGMENT ENTERED
                    Steven T. Salata




                September 7 2018


            Clerk, U.S. Bankruptcy Court
           Western District of North Carolina
                                                                                     _____________________________
                                                                                               Laura T. Beyer
                                                                                       United States Bankruptcy Judge




                                                 UNITED STATES BANKRUPTCY COURT
                                                WESTERN DISTRICT OF NORTH CAROLINA
                                                        CHARLOTTE DIVISION

IN RE:
         Donald Blair Coleman                                                      Chapter 13
         Nellie Elizabeth Coleman                                                 CASE NO: 13-31622
         SSN#: XXX-XX-0984
         SSN#: XXX-XX-1809                                                        Related Document #: 53


                 ORDER DEEMING MORTGAGE LOAN ACCOUNT CURRENT, INCLUDING THE
                     CURE OF ANY PRE-PETITION AND POST-PETITION ARREARAGES
                                               AND
                   INSTRUCTING DEBTORS TO RESUME DIRECT MORTGAGE PAYMENTS
                                           REAL PROPERTY CREDITOR: SETERUS INC


  Trustee Claim #            Clerk Claim #           Filed Claim Amount                 Claim Type
            4                    12                      $64,015.93                     M-Mortgage
            3                    12                       $1,890.33                     N-Mortgage/Lease Arrears

     This matter came before the Court upon the notice and motion of the trustee in the above -referenced Chapter
13 case pursuant to Fed. R. Bank. P. 3002(f)-(i) and Local Rule of Bankruptcy Practice and Procedure 3003-1 (f)
(3), for an order determining that the mortgage loan account of the real property creditor SETERUS INC, including
any of its successors, assignees, or transferees, (hereinafter the “real property creditor”) has been brought
contractually current by trustee payment, including the cure by the trustee of any pre -petition and post-petition
account arrearages, and instructing the debtors to resume making direct monthly payments on the mortgage loan
account.

    After timely notice and opportunity for hearing on the trustee’s notice and motion to all affected parties in
interest, and no party in interest has requested a hearing, the Court finds and concludes as follows:

     1. Pursuant to prior administrative order of the Court and as confirmed by Court order entered on October
04, 2013 with any subsequent amendments or modifications, the debtors' Chapter 13 plan proposed to treat the
real property creditor's mortgage loan claim as a conduit mortgage claim, with all post -petition conduit payments,
as well as the cure of any pre-petition and post-petition arrearages and payment of any cost advances or other
contractual expense claims filed with the Court and provided for by the plan, to be made through the Chapter 13
trustee.
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     2. The real property creditor did file with the Court and serve on the debtors, the debtors' counsel and the
trustee the statement required by Fed. R. Bank. P. 3002.1(g) indicating that it agreed with the representations as
set forth in the trustee's notice and motion.

    3. The trustee has made all of the required payments on account of the mortgage loan claims of the real
property creditor, including the cure of any pre -petition and post-petition arrearages, as required by the Court’s
administrative orders, the order confirming plan and other applicable law, and the mortgage loan account should
be determined to be current by trustee payment through August 2018.

    4. Due to the real property creditor's failure to maintain an updated disbursement mailing address with the
Clerk of the Bankruptcy Court, certain of the trustee disbursements have now been paid into the Court pursuant to
11 U.S.C. Section 347(a).

     5. The debtors should be ordered to resume making direct mortgage payments to the real property creditor
with the first of such direct payments to be credited by the real property creditor for the payment contractually due
for September 2018.

    Based upon the foregoing, IT IS HEREBY ORDERED as follows:

    1. The mortgage loan account of SETERUS INC is deemed current by trustee payment, including the cure of
any pre-petition and post-petition arrearages, through August 2018.

     2. The real property creditor shall show upon its books and records that all conduit payments, arrearages,
interest, costs and expenses that have accrued on the mortgage loan account through August 2018 have now
been satisfied by trustee payment.

     3. The debtors shall resume making the direct mortgage payments directly to the real property creditor with
the first of such direct payments to be credited by the real property creditor for the payment contractually due for
September 2018.

     4. In the event that the real property creditor, the current servicer or any subsequent assignee or holder of
the mortgage debt attempts to collect any of these discharged principal payments, interest, fees or expenses,
such action shall constitute a willful violation of the discharge injunction and contempt of the orders of this Court;
and such action shall give the right to the debtors to pursue a proceeding before this Court for contempt and
appropriate sanctions and such other state and federal statutory remedies as may be available to the debtors and
that this Court shall specifically retain jurisdiction over any such claim or claims.


This Order has been signed electronically. The                                      United States Bankruptcy Court
Judge's signature and Court's seal appear at the
top of the Order.
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